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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                GREENVILLE DIVISION

ANDREW ALEXANDER, et al.                                                               PLAINTIFFS

V.                                                      CIVIL ACTION NO. 4:20-CV-21-SA-JMV

PELICIA E. HALL, et al.                                                              DEFENDANTS

                                               ORDER

       On October 23, 2024, the Defendants filed a Motion to Sever [216]. They argue that “[t]he

logical conclusion stemming from this Court’s Order denying class certification is that Plaintiffs’

claims should be severed into 14 separate actions, including for purposes of completing remaining

discovery and for filing dispositive motions.” [217] at p. 5. The Plaintiffs have not responded to

the Motion [216] and have advised the Court via email that they do not oppose the Defendants’

request.

       The Court finds it appropriate for the claims of each Plaintiff to be litigated in a separate

action. To accomplish this objective, the Court will dismiss this lawsuit without prejudice so that

the Plaintiffs may initiate separate actions. However, the Court will hold its dismissal in abeyance

for a period of twenty-one (21) days—or until December 4, 2024—to provide the Plaintiffs an

opportunity to initiate those separate actions. The Court will enter a separate Order dismissing this

case on December 5, 2024.

       In initiating separate lawsuits, the Plaintiffs should tailor their respective Complaints to the

facts pertaining to each respective Plaintiff. In so doing, the Plaintiffs will not be permitted to add

any new claims; rather, they should assert only the claims that were previously asserted prior to

the expiration of their deadline to amend in this case. Once the new lawsuits are filed, the

Magistrate Judge assigned to each respective case will conduct a case management conference to
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address the parameters of any remaining discovery and set all other deadlines associated with the

case.

        SO ORDERED, this the 13th day of November, 2024.

                                                    /s/ Sharion Aycock
                                                    UNITED STATES DISTRICT JUDGE




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